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                       Exhibit 4
                 TO UNITED STATES’ BILL OF COSTS
                                                                                            Exhibit 4
                                       Fees for printed or electronically recorded transcripts necessarily obtained for use in the case, 28 U.S.C. §1920(2)
                                                                                     (Deposition Transcripts)
         Fees for printed or
       electronically recorded
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transcripts necessarily obtained for             Phase          Date of Deposition                                    Deposition Video Costs           Total Costs            Page(s)
                                                                                              Transcript Costs
 use in the case, 28 U.S.C. §1920(2)
      (Deposition Transcripts)
   Deposition of Richard Vargo                  Phase I     03/30/2011 ‐ 03/31/2011      $                 2,101.70 $                  640.00 $                  2,741.70       1‐3

    Deposition of Robert Bodek                  Phase I     04/11/2011 ‐ 04/12/2011      $                 1,892.75                             $                1,892.75       4‐5

    Deposition of Paul Chandler                 Phase I            05/04/2011            $                  755.80 $                   280.00 $                  1,035.80     253‐254

   Deposition of Alan O'Donnell                 Phase I            05/05/2011            $                  694.90 $                   280.00 $                      974.90     6‐7

      Deposition of Jim Bryan                   Phase I            05/06/2011                                         $                120.00 $                      120.00     8

   Deposition of Robert Quitzau                 Phase I       5/25/2011 ‐ 5/26/2011      $                 1,465.40 $                  560.00 $                  2,025.40      9‐11

    Deposition of Kirk Wardlaw                  Phase I            06/09/2011                                         $                320.00 $                      320.00     12

    Deposition of Darrell Hollek                Phase I            06/22/2011            $                 1,256.68                             $                1,256.68       13

Deposition of Graham Pinky Vinson               Phase I     06/23/2011 ‐ 06/24/2011      $                 2,153.09                             $                2,153.09      14‐15

   Deposition of Michael Beirne                 Phase I      6/27/2011 ‐ 06/28/2011      $                 2,361.69                             $                2,361.69      16‐17

     Deposition of Jerry Byrd                   Phase I            07/13/2011            $                  616.78 $                   160.00 $                      776.78    18‐19

    Deposition of Stuart Strife                 Phase I            10/05/2011            $                  925.31 $                   280.00 $                  1,205.31      20‐21

    Deposition of Roger Vernon                  Phase I            12/13/2011            $                  789.32 $                   200.00 $                      989.32    22‐23

    Deposition of Gordon Cain                   Phase I            12/19/2011            $                  676.17                              $                    676.17     24

     Deposition of James Lang                   Phase I            01/11/2012            $                 1,061.04                             $                1,061.04       25

Deposition of Graham Pinky Vinson               Phase I            01/11/2012                                         $                160.00 $                      160.00     26

     Deposition of Paul Hsieh                   Phase II    09/11/2012 ‐ 09/12/2012                                   $                850.00 $                      850.00     27

    Deposition of Brian O'Neill                 Phase II           09/12/2012                                         $                300.00 $                      300.00     28

   Deposition of Richard Camilli                Phase II    09/12/2012 ‐ 09/13/2012                                   $                600.00 $                      600.00     29

   Deposition of Matt Gochnour                  Phase II    09/13/2012 ‐ 09/14/2012                                   $                950.00 $                      950.00     30

   Deposition of Steve Pelphrey                 Phase II           09/14/2012                                         $                200.00 $                      200.00     31
                                                                                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 15835-4 Filed 02/08/16 Page 2 of 7




    Deposition of Jason LeBlanc                 Phase II    09/14/2012 ‐ 09/15/2012                                   $                325.00 $                      325.00     32




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                                                                                            Exhibit 4
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transcripts necessarily obtained for             Phase          Date of Deposition                                    Deposition Video Costs           Total Costs            Page(s)
                                                                                              Transcript Costs
 use in the case, 28 U.S.C. §1920(2)
      (Deposition Transcripts)
     Deposition of Mark Sogge                   Phase II    09/18/2012 ‐ 09/19/2012                                   $                750.00 $                      750.00     33

Deposition of Graham Pinky Vinson               Phase II    09/18/2012 ‐ 09/19/2012                                   $                650.00 $                      650.00     34

     Deposition of Jaime Loos                   Phase II           09/20/2012                                         $                350.00 $                      350.00     35

   Deposition of Alan O'Donnell                 Phase II           09/21/2012                                         $                300.00 $                      300.00     36

  Deposition of Antonio Possolo                 Phase II     09/26/2012 ‐09/27/2012                                   $                750.00 $                      750.00     37

    Deposition of Simon Bishop                  Phase II    09/27/2012 ‐ 09/28/2012                                   $                650.00 $                      650.00     38

     Deposition of Mark Miller                  Phase II           10/01/2012            $                 1,428.05 $                  550.00 $                  1,978.05     39‐40

      Deposition of Ole Rygg                    Phase II           10/03/2012            $                 1,474.17 $                  600.00 $                  2,074.17     41‐42

    Deposition of Charles Henry                 Phase II    10/03/2012 ‐ 10/04/2012      $                 2,712.45 $                  650.00 $                  3,362.45     43‐45

      Deposition of Tom Knox                    Phase II    10/11/2012 ‐ 10/12/2012                                   $                550.00 $                      550.00     46

    Deposition of Adam Ballard                  Phase II    10/16/2012 ‐ 10/17/2012      $                 2,606.77 $                  950.00 $                  3,556.77     47‐49

    Deposition of Arthur Ratzel                 Phase II    10/17/2012 ‐ 10/18/2012      $                 3,061.64 $                  850.00 $                  3,911.64     50‐52

    Deposition of Mary Landry                   Phase II    10/22/2012 ‐ 10/23/2012      $                 3,355.64 $                  900.00 $                  4,255.64     53‐56

   Deposition of Marcia McNutt                  Phase II    10/24/2012 ‐ 10/25/2012      $                 3,137.63 $                  900.00 $                  4,037.63     57‐59

     Deposition of Yun Wang                     Phase II    10/24/2012 ‐ 10/25/2012      $                 1,565.07 $                  600.00 $                  2,165.07     60‐62

    Deposition of Trevor Smith                  Phase II    10/25/2012 ‐ 10/26/2012      $                 2,848.24 $                  750.00 $                  3,598.24     63‐65

   Deposition of Thomas Hunter                  Phase II    10/30/2012 ‐ 10/31/2012      $                 3,602.72 $                  750.00 $                  4,352.72     66‐68

     Deposition of Don Maclay                   Phase II    10/31/2012 ‐ 11/01/2012      $                 3,022.03 $                  900.00 $                  3,922.03     69‐72

   Deposition of Robert Quitzau                 Phase II    11/01/2012 ‐ 11/02/2012      $                 2,368.17                             $                2,368.17     73‐74

   Deposition of Robert Sanders                 Phase II           11/05/2012            $                 1,161.81 $                  450.00 $                  1,611.81     75‐76

    Deposition of Robert Turlak                 Phase II    11/06/2012 ‐ 11/27/2012      $                 2,775.45 $                  850.00 $                  3,625.45     77‐80
                                                                                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 15835-4 Filed 02/08/16 Page 3 of 7




   Deposition of Tanner Gansert                 Phase II           11/12/2012            $                 1,382.68                             $                1,382.68       81




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                                                                                            Exhibit 4
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transcripts necessarily obtained for             Phase          Date of Deposition                                    Deposition Video Costs           Total Costs            Page(s)
                                                                                              Transcript Costs
 use in the case, 28 U.S.C. §1920(2)
      (Deposition Transcripts)
   Deposition of Ruben Schulkes                 Phase II           11/12/2012            $                 1,337.97 $                  350.00 $                  1,687.97      82‐83

    Deposition of Kevin Devers                  Phase II    11/12/2012 ‐ 11/13/2012      $                 2,518.96 $                  800.00 $                  3,318.96      84‐86

  Deposition of Stewart Griffiths               Phase II    11/13/2012 ‐ 11/14/2012      $                 2,867.80 $                  750.00 $                  3,617.80      87‐89

    Deposition of Earnest Bush                  Phase II           11/14/2012            $                  723.76                              $                    723.76     90

   Deposition of Andrew Woods                   Phase II           11/14/2012            $                 1,403.66 $                  350.00 $                  1,753.66      91‐92

   Deposition of George Guthrie                 Phase II    11/15/2012 ‐ 11/16/2012      $                 2,421.66                             $                2,421.66      93‐94

    Deposition of George Ross                   Phase II           11/16/2012            $                  817.88 $                   200.00 $                  1,017.88      95‐96

    Deposition of Ellen Williams                Phase II    11/19/2012 ‐ 11/20/2012      $                 1,693.83 $                  650.00 $                  2,343.83      97‐99

    Deposition of John Hughes                   Phase II    11/27/2012 ‐ 11/28/2012      $                 2,926.13 $                1,000.00 $                  3,926.13     100‐102

 Deposition of Christopher Matice               Phase II           11/28/2012            $                 1,205.17 $                  350.00 $                  1,555.17     103‐104

     Deposition of Charlie Holt                 Phase II    11/28/2012 ‐ 11/29/2012      $                 2,923.32 $                  800.00 $                  3,723.32     105‐107

   Deposition of Matthew Stahl                  Phase II           11/29/2012            $                  477.64 $                   300.00 $                      777.64   108‐109

  Deposition of Steven McArthur                 Phase II           11/30/2012            $                  641.07 $                   300.00 $                      941.07   110‐111

    Deposition of Charles Miller                Phase II           11/30/2012            $                  341.69 $                   250.00 $                      591.69   112‐113

  Deposition of Edmond Shtepani                 Phase II           11/30/2012            $                 1,000.87 $                  400.00 $                  1,400.87     114‐115

   Deposition of Albert Decoste                 Phase II           12/05/2012            $                 1,715.88 $                  550.00 $                  2,265.88     116‐117

Deposition of Stephen Carmichael                Phase II    12/18/2012 ‐ 12/19/2012      $                 1,543.15 $                  550.00 $                  2,093.15     118‐120

  Deposition of Timothy Lockett                 Phase II    12/18/2012 ‐ 12/19/2012      $                 2,092.33 $                  900.00 $                  2,992.33     121‐123

     Deposition of Farah Saidi                  Phase II    01/10/2013 ‐ 01/11/2013                                   $                700.00 $                      700.00    124

      Deposition of Tony Liao                   Phase II           01/11/2013            $                 1,138.58 $                  800.00 $                  1,938.58     125‐126

     Deposition of Trevor Hill                  Phase II    01/14/2013 ‐ 01/15/2013      $                 3,043.86 $                  900.00 $                  3,943.86     127‐129
                                                                                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 15835-4 Filed 02/08/16 Page 4 of 7




   Deposition of Robert Merrill                 Phase II    01/15/2013 ‐ 01/16/2013      $                 2,380.67                             $                2,380.67     130‐131




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 transcripts necessarily obtained for             Phase          Date of Deposition                                      Deposition Video Costs         Total Costs            Page(s)
                                                                                               Transcript Costs
  use in the case, 28 U.S.C. §1920(2)
       (Deposition Transcripts)
     Deposition of William Lehr                  Phase II    01/17/2013 ‐ 01/18/2013      $                 2,511.70                              $               2,511.70     132‐133

      Deposition of Steven Chu                   Phase II           01/24/2013            $                 1,466.96 $                    350.00 $                1,816.96     134‐135

   Deposition of Ronald Dykhuizen                Phase II    01/30/2013 ‐ 01/31/2013      $                 2,474.07 $                    850.00 $                3,324.07     136‐138

     Deposition of Mark Havstad                  Phase II    01/30/2013 ‐ 01/31/2013      $                 2,411.55 $                    600.00 $                3,011.55     139‐142

    Deposition of Michael Levitan                Phase II    01/30/2013 ‐ 01/31/2013      $                 2,161.89 $                    650.00 $                2,811.89     143‐146

  Deposition of George Graettinger               Phase II           02/06/2013            $                   877.49 $                    350.00 $                1,227.49     147‐148

       Deposition of Ira Leifer                  Phase II    02/21/2013 ‐ 02/22/2013      $                 2,569.80 $                    650.00 $                3,219.80     149‐151

     Deposition of Kinton Lawler                 Phase II           03/08/2013            $                   997.25                              $                   997.25     152

   Deposition of Ronald Dykhuizen                Phase II     6/19/2013 ‐ 06/20/2013      $                 2,970.61                              $               2,970.61     153‐154

   Deposition of Stewart Griffiths               Phase II    06/26/2013 ‐ 06/27/2013      $                 2,930.90 $                    960.00 $                3,890.90     155‐158

Deposition of Mehran Pooladi‐Darvish             Phase II    07/03/2013 ‐ 07/04/2013      $                 3,342.78 $                    960.00 $                4,302.78     159‐161

      Deposition of Rory Davis                   Phase II           07/12/2013            $                   959.27 $                    300.00 $                1,259.27     162‐163

    Deposition of Thomas Hunter                  Phase II           07/12/2013            $                 1,455.36                              $               1,455.36       164

     Deposition of Alan Huffman                  Phase II           07/18/2013            $                   754.14                              $                   754.14     165

 Deposition of Jean‐Claude Roegiers              Phase II    07/24/2013 ‐ 07/25/2013      $                 2,167.32 $                    720.00 $                2,887.32     166‐168

     Deposition of Adam Ballard                  Phase II           07/29/2013            $                 1,623.98 $                    480.00 $                2,103.98     169‐170

      Deposition of Glen Benge                   Phase II           08/01/2013            $                 1,041.48                              $               1,041.48       171

     Deposition of Amy Merten                    Phase III          06/11/2014           $                  2,962.50 $                   900.00   $               3,862.50     172, 233

      Deposition of Laura Folse                  Phase III          06/16/2014           $                  2,482.50 $                   810.00   $               3,292.50     173, 233

    Deposition of James Hanzalik                 Phase III          06/17/2014           $                  2,812.50 $                   720.00   $               3,532.50     174, 233

      Deposition of Harry Luton                  Phase III          06/17/2014           $                  2,002.50 $                   720.00   $               2,722.50     175, 234
                                                                                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 15835-4 Filed 02/08/16 Page 5 of 7




    Deposition of Joshua Barnes                  Phase III          06/18/2014           $                  2,812.50 $                   810.00   $               3,622.50     176, 234




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transcripts necessarily obtained for             Phase          Date of Deposition                                      Deposition Video Costs         Total Costs              Page(s)
                                                                                             Transcript Costs
 use in the case, 28 U.S.C. §1920(2)
      (Deposition Transcripts)
    Deposition of Larry Hewett                  Phase III          06/19/2014           $                 2,320.00 $                    540.00   $               2,860.00       177, 234

   Deposition of Richard Heron                  Phase III          06/20/2014           $                 2,670.00 $                    810.00   $               3,480.00       178, 235

    Deposition of Mace Barron                   Phase III          06/24/2014           $                 3,062.50 $                    810.00   $               3,872.50     179‐180, 236

     Deposition of Drew Casey                   Phase III          06/24/2014           $                 1,912.50 $                    360.00   $               2,272.50       181, 236

    Deposition of Mark Huston                   Phase III          06/24/2014           $                 3,482.50 $                    720.00   $               4,202.50     182‐183, 236

      Deposition of Iris Cross                  Phase III          06/26/2014           $                 2,545.00 $                    720.00   $               3,265.00       257, 235

    Deposition of Robyn Conmy                   Phase III          06/26/2014           $                 3,312.50 $                    900.00   $               4,212.50     184‐185, 237

    Deposition of John Howard                   Phase III          06/26/2014           $                 3,132.50 $                    720.00   $               3,852.50     186‐187, 237

   Deposition of Marshall Rose                  Phase III          06/26/2014           $                 2,167.50 $                    720.00   $               2,887.50       188, 237

     Deposition of Mike Utsler                  Phase III          06/27/2014           $                 3,492.50 $                    810.00   $               4,302.50     189‐190, 235

   Deposition of Sarah McNulty                  Phase III          07/01/2014           $                 3,052.50 $                    990.00   $               4,042.50     191‐192, 238

      Deposition of Julia Hein                  Phase III          07/09/2014           $                 2,792.50 $                    810.00   $               3,602.50       193, 238

   Deposition of Damian Higgins                 Phase III          07/09/2014           $                 2,462.50 $                    900.00   $               3,362.50       194, 239

   Deposition of Jane Lubchenco                 Phase III          07/10/2014           $                 2,820.00 $                    990.00   $               3,810.00       195, 239

     Deposition of Mark Miller                  Phase III          07/10/2014           $                 2,412.50 $                    765.00   $               3,177.50       196, 240

    Deposition of Robert Gwin                   Phase III          07/11/2014           $                 3,012.50 $                    720.00   $               3,732.50     197‐198, 240

  Deposition of Margaret Douglas                Phase III          07/15/2014           $                 1,435.00 $                    540.00   $               1,975.00       199, 241

    Deposition of Frank Kulesa                  Phase III          07/15/2014           $                 2,970.00 $                    900.00   $               3,870.00       200, 241

  Deposition of Meredith Austin                 Phase III          07/17/2014           $                 2,850.00 $                    900.00   $               3,750.00       201, 242

    Deposition of Darrell Hollek                Phase III          07/17/2014           $                 2,085.00 $                    720.00   $               2,805.00       202, 242

 Deposition of Stephen McCleary                 Phase III          07/18/2014                                       $                   900.00   $                   900.00       243
                                                                                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 15835-4 Filed 02/08/16 Page 6 of 7




  Deposition of Jacqueline Michel               Phase III          08/01/2014           $                 3,150.00 $                    990.00   $               4,140.00     203‐204, 244




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                                                                                                Exhibit 4
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    transcripts necessarily obtained for             Phase          Date of Deposition                                     Deposition Video Costs          Total Costs              Page(s)
                                                                                                 Transcript Costs
     use in the case, 28 U.S.C. §1920(2)
          (Deposition Transcripts)
         Deposition of Roger Laferriere             Phase III          08/05/2014           $                 3,950.00   $               1,170.00   $                5,120.00     205‐206, 244

          Deposition of Kenneth Arnold              Phase III          10/07/2014           $                  620.96 $                    900.00   $                1,520.96       207, 245

         Deposition of Gardner Walkup               Phase III          10/10/2014           $                 3,213.46 $                   720.00   $                3,933.46     208‐209, 245

            Deposition of Robert Cox                Phase III          10/14/2014           $                 2,760.96 $                   900.00   $                3,660.96       210, 246

           Deposition of Diane Austin               Phase III          10/16/2014           $                 3,240.96 $                   990.00   $                4,230.96     211‐212, 246

           Deposition of Elliot Taylor              Phase III          10/21/2014           $                 4,858.52   $               1,080.00   $                5,938.52     213‐214, 247

            Deposition of Ian Ratner                Phase III   10/21/2014 ‐ 10/22/2014     $                 5,101.92   $               1,260.00   $                6,361.92   215‐217, 247‐248

         Deposition of Frank Paskewich              Phase III          10/23/2014           $                 3,240.96 $                   990.00   $                4,230.96     255‐256, 247

          Deposition of Donald Boesch               Phase III          10/24/2014           $                 3,789.31 $                   900.00   $                4,689.31     218‐219, 249

           Deposition of John Tunnell               Phase III          10/27/2014           $                 3,259.31 $                   990.00   $                4,249.31     220‐221, 249

          Deposition of Charles Mason               Phase III          10/29/2014           $                 3,446.81 $                   855.00   $                4,301.81     222‐223, 250

           Deposition of Stanley Rice               Phase III          10/30/2014           $                 3,580.96   $               1,080.00   $                4,660.96     224‐225, 250

          Deposition of David Sunding               Phase III          10/30/2014           $                 3,710.96 $                   855.00   $                4,565.96     226‐227, 251

           Deposition of Richard Clapp              Phase III          10/31/2014           $                 2,899.74 $                   810.00   $                3,709.74       228, 251

        Deposition of Mark VanHaverbeke             Phase III          10/31/2014           $                 2,851.81 $                   990.00   $                3,841.81       229, 251

         Deposition of George Bonanno               Phase III          11/03/2014           $                 2,819.74 $                   855.00   $                3,674.74       230, 252

           Deposition of Damian Shea                Phase III          11/03/2014           $                 3,941.81 $                   900.00   $                4,841.81     231‐232, 252

TOTAL                                                                                                                                               $             323,821.27
                                                                                                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 15835-4 Filed 02/08/16 Page 7 of 7




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